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           ORDERED in the Southern District of Florida on August 16, 2020.




                                                                  Laurel M. Isicoff
                                                                  Chief United States Bankruptcy Judge
___________________________________________________________________________




                                       UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                MIAMI DIVISION
                                               www.flsb.uscourts.gov

           In re:   Byron Flores                                             Case No: 20-15320-LMI
                                                                             Chapter 13
                            Debtor            /

                         ORDER GRANTING MOTION TO DETERMINE JOINT CREDITORS

                    THIS MATTER having come to be heard on August 6, 2020 upon Debtor’s Motion to Determine

           Joint Creditors [ECF#24], IT IS;


                    ORDERED AND ADJUDGED:

           1.       Debtor’s Motion to Determine there are no joint Creditors is granted.
           2.       The debtor’s exemptions are allowed as claimed.

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           The Law Office of Robert Sanchez, P.A., is hereby directed to mail a conformed copy of this order to all
           affected parties.
